 

CaSe 08-50658 DOC 19 Filed 07/22/09 EOD 07/22/09 15244:13 PQ 1 Of 4

UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF INDIANA

 

INDIANAPOLIS DIVISION
IN RE: )
)
DANNY K. ZACHARY, IR., ) Case No. 08-10960-JKC-7
)
Debtor. )
)
)
MAINSOURCE BANK, )
)
Plaintiff, )
) .
v. ) Adversary Proceeding No. 08-50658
' )
DANNY K. ZACHARY, JR., )
)
Defendant. )

AGREED FINAL JUDGMENT ENTRY

 

COME NOW the Plaintiff MainSource Bank (“MainSource”), in person and by

counsel, and the Debtor-Defendant Danny K. Zachary, J1'. (“Zachal'y”), in person vand by

 

 

 

CaSe 08-50658 DOC 19 Filed 07/22/09 EOD 07/22/09 15244:13 PQ 2 Of 4

counsel, and stipulate and agree, subject to the approval of this Court, to the entry of` final
judgment in this adversary proceeding as follows:

1. Zachary filed a voluntary Petition for Relief` under Chapter 7 of Title ll of

' the United States Code on Septeinber 6, 2008 in this Court under Case No. 08-10960- j

JKC-7.
y 2. This adversary proceeding Was timely commenced by MainSource on
December 23, 2008 by the filing of a Complaint to Deterrnine Dischargeability of Debts
(the “Complaint”) pursuant to 11 U.S.C. §523.

3. This Court has jurisdiction to hear and determine this adversary
proceeding pursuant to 28 U.S.C. §1334(a), and Fed. R. Bankr. P. 7001(6).

4. Venue of` this adversary proceeding is properly laid in this Court pursuant

to 28 U.S.C. §1409(a).

5. This Court has jurisdiction over the parties hereto and the subject-matter

hereof`. ,

6. . On April 8, 2009, MainSource filed in this adversary proceeding a Motion
f`or Default Judgment and Request for Hearing on Darnages.

7. By order of May 29, 2009, this Court granted said Motion i`or Def`ault
Judgment and Request for l-Iearing on Damages.

8. A hearing on damages to determine the amount and particulars of` the
relief to Which MainSource is entitled under its Complaint in this adversary proceeding is

currently scheduled for July 23, 2009.

 

 

CaSe 08-50658 DOC 19 Filed 07/22/09 EOD 07/22/09 15244:13 PQ 3 Of 4

9. Zachary and MainSource hereby expressly stipulate and agree that the
amount of damages to Which MainSource is entitled under its Complaint in this adversary
proceeding is the sum of $148,849.82 plus costs.

10. Zachary and MainSource hereby expressly stipulate and agree that
MainSource shall have and recover final judgment against Zachary on MainSource’s
Complaint in this adversary proceeding in the sum of $148,849.82 plus costs.

ll. Zachary and MainSource hereby expressly stipulate and agree that this
final judgment, and the debts upon which it is based, are and shall remain
nondischargeable in banl<iuptcy pursuant to 11 U.S.C. §523(a)(2).

12. Inasmuch as the Dealer Agreement, upon vvhich this judgment and the
debts upon which it is based arose, provides that MainSource is entitled to recover from
Zachary its attorneys fees and other expenses in enforcing its right thereunder, Zachary
and MainSource expressly stipulate and agree that MainSource shall be entitled to
recover from Zachary as a part of this judgment such post-judgment attorneys fees and

expenses as MainSource may hereafter incur in enforcing and collecting this judgment

 

 

LAW OFFICE OF COLBY J. LEONARD Danny K. Zachary, Jr.
W M%WQ
Colby J. Leonard Danny K. Zachary Jr.

Attorney for Debtor-Defendant Danny K. Zachary, Jl.

 

 

HARRISON & MOBERLY, LLP MAINSOURCE BANK
by:

David J. Theising Mark W. Lehman

Attorney for Plaintif`f` MainSource Bank Collections Manager

 

 

CaSe 08-50658 DOC 19 Filed 07/22/09 EOD 07/22/09 15244:13 PQ 4 Of 4

9. Zachary and MainSource.hereb§* expressly stipulate and agree that the
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